     Case: 1:22-cv-00149 Document #: 30 Filed: 03/25/22 Page 1 of 2 PageID #:383




                         UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF ILLINOIS


REGINALD T. ALLISON, Individually and on )    Case No. 1:22-cv-00149
Behalf of All Others Similarly Situated,  )
                                          )   CLASS ACTION
                              Plaintiff,  )
                                          )   Judge Matthew F. Kennelly
       vs.                                )
                                          )
OAK STREET HEALTH, INC., et al.,          )
                                          )
                              Defendants.
                                          )
                                          )



      ORDER APPOINTING LEAD PLAINTIFF AND APPROVING LEAD PLAINTIFF’S
                        SELECTION OF LEAD COUNSEL




4860-6704-9492.v1
     Case: 1:22-cv-00149 Document #: 30 Filed: 03/25/22 Page 2 of 2 PageID #:384




         Having considered Central Pennsylvania Teamsters Pension Fund – Defined Benefit Plan,

Central Pennsylvania Teamsters Pension Fund – Retirement Income Plan 1987, and Boston

Retirement System’s (collectively, the “Northeast Pension Funds”) Motion for Appointment as

Lead Plaintiff and Approval of Lead Plaintiff’s Selection of Lead Counsel (the “Motion”), and

good cause appearing therefor, the Court ORDERS as follows:

         1.         The Motion is GRANTED.

         2.         The Court, having considered the provisions of the Private Securities Litigation

Reform Act of 1995, 15 U.S.C. §78u-4(a)(3)(B), appoints the Northeast Pension Funds as Lead

Plaintiff.

         3.         All securities class actions on behalf of purchasers of Oak Street Health, Inc.

securities arising out of the same or substantially similar subject matter subsequently filed in, or

transferred to, this District shall be consolidated into this action. This Order shall apply to every

such action, absent an order of the Court. A party objecting to such consolidation, or to any other

provisions of this Order, must file an application for relief from this Order within ten days after

the action is consolidated into this action. This Order is entered without prejudice to the rights of

any party to apply for severance of any claim or action, with good cause shown.

         4.         Pursuant to 15 U.S.C. §78u-4(a)(3)(B)(v), Lead Plaintiff’s selection of Robbins

Geller Rudman & Dowd LLP and Labaton Sucharow LLP as Lead Counsel for the class is

approved.

         IT IS SO ORDERED.


DATED: 3/25/2022                                 _________________________________________
                                                 THE HONORABLE MATTHEW F. KENNELLY
                                                 UNITED STATES DISTRICT JUDGE




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4860-6704-9492.v1
